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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


DENNIS J. WILLARD,
                                   Case No. 2:17-cv-14202-AJT-EAS
     Plaintiff,
                                   Hon. Arthur J. Tarnow
v.
                                   Magistrate Judge Elizabeth A. Stafford
HUNTINGTON FORD, INC.,
a Michigan corporation,

     Defendant.

 RAYMOND J. STERLING (P34456)           EBONY L. DUFF (P65431)
 BRIAN J. FARRAR (P79404)               GARAN LUCOW MILLER, P.C.
 STERLING ATTORNEYS AT LAW, P.C.        Attorney for Defendant
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                  DEFENDANT HUNTINGTON FORD, INC.'S
                   MOTION FOR SUMMARY JUDGMENT

                        BRIEF IN SUPPORT OF
                  DEFENDANT HUNTINGTON FORD, INC.'S
                   MOTION FOR SUMMARY JUDGMENT

                       CERTIFICATE OF SERVICE
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                 DEFENDANT HUNTINGTON FORD, INC.'S
                  MOTION FOR SUMMARY JUDGMENT

      Defendant Huntington Ford, Inc., through its attorneys, Garan Lucow

Miller, P.C., moves this Court for summary judgment pursuant to Fed. R.

Civ. Pro. 56 and in support of its motion, states as follows:

      1. Plaintiff initiated this lawsuit alleging claims of age discrimination

under the Age Discrimination Employment Act (ADEA), 29 U.S.C. § 623

and the Elliott Larsen Civil Rights Act, M.C.L. 37.2202(1)(a), arising out of

his termination of employment with Defendant Huntington Ford.            (R.1,

Complaint).

      2.      At the time of Plaintiff's termination he was 63 years old. He

had been employed as a Sales Associate of New Cars and had a history of

being a high volume salesperson with an abrasive personality. Plaintiff's

ultimate termination from the dealership was the result of a verbal

altercation he had with another sales associate, Ms. Duley, who was fifty-

six years old and had been employed with the dealership for 28 years.

      3.      On December 21, 2016, Ms. Duley and Plaintiff engaged in a

verbal altercation which led to Ms. Duley resigning immediately from the

dealership and calling the police to the dealership.            Following this

altercation, Plaintiff was suspended for three full days and instructed to

return on Monday, December 26, 2016, to discuss his employment. When

Plaintiff did not return to work that day he was terminated.
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      4.    Plaintiff attempts to create an age discrimination claim by

claiming that earlier in 2016 he was asked about retirement, he was told he

was "too old" to be working there, he was referred to as being over the hill,

and he was requested to move his desk to the back of the showroom.

Plaintiff claims that the dealership pressured Ms. Duley to file a false police

report so that the dealership could terminate him and that the stated reason

for termination was a pretext for age discrimination.

      5.    Defendant seeks summary judgment of Plaintiff's entire

complaint because Plaintiff cannot establish by the preponderance of the

evidence that age was the but-for cause of his termination.

      6.    Plaintiff cannot offer any direct or circumstantial evidence to

satisfy his claim of age discrimination.

      7.    Indeed, Plaintiff has no direct evidence that age was the but for

cause of his termination.

      8.    Moreover, he cannot establish such a claim by circumstantial

evidence. To that end, Plaintiff cannot establish a prima facie claim of age

discrimination with circumstantial evidence because he cannot show that

he was replaced by someone outside of the protected class because no

one replaced Plaintiff's position as a Sales Associate of New Cars at the

time he was terminated.




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      9.     Even if Plaintiff could establish a prima facie case of age

discrimination, Defendant has offered a legitimate, nondiscriminatory

reason -- failure to return to work after being suspended -- for terminating

Plaintiff's employment.   The burden then shifts back to Plaintiff to offer

sufficient evidence to create an issue of fact regarding pretext which he

cannot do.

      10.    Ultimately, reasonable minds cannot differ that Plaintiff cannot

show by a preponderance of the evidence that his age was the but for

cause of his termination and, therefore, Defendant is entitled to summary

judgment on both Plaintiff's federal and state claim of age discrimination.

      11.    Concurrence was sought in this motion on November 14, 2018,

but no response was given.

      Wherefore, Defendant Huntington Ford, Inc., respectfully requests

this Court to grant its Motion for Summary Judgment and dismiss Plaintiff's

claim in its entirety.

                                    Respectfully submitted:

                                    By: s/ Ebony L. Duff
                                        EBONY L. DUFF (P65431)
                                        GARAN LUCOW MILLER, P.C.
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Dated: November 15, 2018
1417541

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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


DENNIS J. WILLARD,
                                   Case No. 2:17-cv-14202-AJT-EAS
     Plaintiff,
                                   Hon. Arthur J. Tarnow
v.
                                   Magistrate Judge Elizabeth A. Stafford
HUNTINGTON FORD, INC.,
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                        BRIEF IN SUPPORT OF
                  DEFENDANT HUNTINGTON FORD, INC.'S
                   MOTION FOR SUMMARY JUDGMENT
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            CONCISE STATEMENT OF ISSUE PRESENTED

Where Plaintiff was terminated following a verbal altercation with another
employee, a suspension from employment and then failing to return to work
following the suspension, Plaintiff's federal and state age discrimination
claim should be dismissed because Plaintiff cannot show by the
preponderance of the evidence that his age was the but for cause of his
termination of employment.
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        CONTROLLING OR MOST APPROPRIATE AUTHORITY

29 U.S.C. § 623(a)(1)

M.C.L. 37.2202(1)(a)

Gross v. FBL Financial Services, Inc., 557 U.S. 167, 177-178 (2009)




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                             LIST OF EXHIBITS

Exhibit A   Plaintiff's Deposition

Exhibit B   Huntington Ford Employment Handbook with Plaintiff's
            acknowledgement (Subject to Protective Order and
            Submitted Under Seal)

Exhibit C   February 3, 2011 Employee Warning Notice (Subject to
            Protective Order and Submitted Under Seal)

Exhibit D   August 7, 2012 Employee Warning Notice (Subject to
            Protective Order and Submitted Under Seal)

Exhibit E   Scoggin Deposition

Exhibit F   Malouf Deposition

Exhibit G   Calhoun Deposition

Exhibit H   Oakland County Sheriff Case Report

Exhibit I   Calhoun Statement (Subject to Protective Order and
            Submitted Under Seal)

Exhibit J   Schiller Deposition

Exhibit K   December 21, 2016 Employee Warning Notice (Subject to
            Protective Order and Submitted Under Seal)

Exhibit L   December 27, 2016 Employee Warning Notice - Termination
            (Subject to Protective Order and Submitted Under Seal)

Exhibit M   EEOC Discharge

Exhibit N   Huntington Ford Census of Employment              (Subject    to
            Protective Order and Submitted Under Seal)

Exhibit O   December 28, 2106 Russ Milne Employment Application


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                             INTRODUCTION

      This lawsuit arises out of Plaintiff Dennis Willard's termination from

employment with Defendant Huntington Ford, Inc. At the time of Plaintiff's

termination he was 63 years old. He had been employed with Defendant

for eleven years as a Sales Associate of New Cars and had a history of

being a high volume salesperson with an abrasive personality. Plaintiff's

ultimate termination from the dealership was the result of an altercation he

had with another sales associate, Ms. Duley, who was fifty-six years old

and had been employed with the dealership for 28 years. Ms. Duley and

Plaintiff engaged in a verbal altercation in the showroom which led to Ms.

Duley resigning immediately from the dealership and calling the police to

report the altercation. Following this altercation, Plaintiff was suspended

for three full days and instructed to return on Monday, December 26, 2016,

to discuss his employment. When Plaintiff did not return to work that day

he was terminated based on his unwillingness to review the altercation

incident, the severity of his actions, and previous written and verbal

warnings.

      Plaintiff has now initiated this lawsuit alleging claims of age

discrimination under the Age Discrimination Employment Act (ADEA), 29

U.S.C. § 623 and the Elliott Larsen Civil Rights Act, M.C.L. 37.2202, arising

out of his termination of employment with Defendant Huntington Ford.
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Plaintiff attempts to create an age discrimination claim by claiming that

earlier in 2016 he was asked about retirement, he was told he was "too old"

to be working there, he was referred to as being over the hill, and he was

requested to move his desk to the back of the showroom. Plaintiff claims

that the dealership pressured Ms. Duley to file a false police report so that

the dealership could terminate him and that this termination was a pretext

of age discrimination.

      Defendant now seeks summary judgment of Plaintiff's entire

complaint because Plaintiff cannot establish by the preponderance of the

evidence that age was the but for cause of his termination.

      Indeed, Plaintiff has no direct evidence that age was the but-for

cause of his termination because there are no allegations that any direct

statements regarding his age were made during the decision process to

terminate Plaintiff.

      Moreover, Plaintiff cannot establish a claim of age discrimination by

circumstantial evidence. To that end, Plaintiff cannot establish a prima

facie claim of age discrimination with circumstantial evidence because he

cannot show that he was replaced by someone outside of the protected

class because no one replaced Plaintiff's position as a Sales Associate of

New Cars at the time he was terminated. Even if Plaintiff could establish a

prima facie case of age discrimination, Defendant has offered a legitimate,
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nondiscriminatory reason -- failure to return to work after being

suspended -- for terminating Plaintiff's employment. The burden then shifts

back to Plaintiff to offer sufficient evidence to create an issue of fact

regarding pretext which he cannot do.

      Ultimately, reasonable minds cannot differ that Plaintiff cannot show

by a preponderance of the evidence that his age was the but for cause of

his termination and, therefore, Defendant is entitled to summary judgment

of Plaintiff's entire complaint.


                           STATEMENT OF FACTS

      Plaintiff was employed as an at-will employee with Huntington Ford,

Inc., from March 1, 2005, to the date of his termination on December 27,

2016. At the time of his termination, Plaintiff was 63 years old. Plaintiff

was hired as a Sales Associate of New Cars and earned a salary and

commission based on the vehicles he sold. Plaintiff's direct supervisor was

New Car Manager Tony Malouf (56 years old).           All Sales Associates

reported to the General Manager, Brad Schiller (63 years old) and the

Dealer President Patrick Scoggin (55 years old).

      Plaintiff acknowledged that he received a copy of the Huntington Ford

employee handbook at the commencement of his employment. (Exhibit A,




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Plaintiff's deposition, p. 73). The employment handbook sets forth "What

Huntington Ford Expects of You" which includes Rules of Conduct:

            Violations of the following rule will, at the discretion
            of the Dealership, result in discipline up to and
            including discharge:

            The following is neither a complete nor exhaustive
            list of conduct or circumstances which might result
            in an employee's immediate termination. This list is
            only illustrative of conduct that is to be avoided and
            which, at the discretion of the Dealership, might
            result in disciplinary action up to and including
            immediate termination. These examples are in no
            way a limitation on the right or ability of the
            Dealership to terminate its employees' services for
            any reason at any time.

            *****
            3.     Threatening, intimidating, coercing, interfering,
            or fighting with employees, customers or visitors.

            4.    Insubordination, including failure to follow
            instructions given by a supervisor or disobedience
            to authority.

            *****

            19. Conduct offensive to, or in disregard of, the
            rights and privileges of others on Dealership
            premises.
            *****

            31. Violation of any of the policies contained in
            this Employee Handbook including but not limited
            to: Policy Prohibiting Discrimination, Harassment,
            and Retaliation, Absenteeism and Tardiness . . .
            It must be recognized that either the employee of
            Huntington Ford has the option of terminating the

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            employment relationship at any time with or without
            cause and with or without notice.

(Exhibit B, Employment Handbook, pp. 27-29).

      The Employee Handbook also prohibits any acts or threats of

violence including "disruptive behavior" that disturbs, interferes with or

prevents normal work functions and activities. Any such act or threat may

lead to discipline including discharge. (Exhibit B, p. 35).

      The Employee Handbook defines an "unexcused absence" to include

failing to timely notify the dealer of your absence.          The Employee

Handbook further provides that "the Dealership may discipline employees,

up to and including discharge, based upon any UNEXCUSED absence or

tardiness (however minor), if the employee has previously violated any

other Employee Handbook policy." (Exhibit B, p. 20).

      The Employee Handbook also sets forth the dealership's policy that

any unlawful discrimination against any employee based on, inter alia, age

will not be allowed or tolerated.     (Exhibit B, p. 38).     The Handbook

provides that "any employee who feels he or she has been the subject of

any discrimination, harassment, or retaliation, including sexual harassment,

should immediately report it to the Dealership."              The Dealership

encourages that any harassment be reported "regardless of the offender's




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position within the Dealership". The Handbook provides several options on

how to report harassment. (Exhibit B, p. 38).

      Plaintiff acknowledged that he was an At-Will employee and that he

received the Employment Handbook. (Exhibit B, Acknowledgement; and

Exhibit A, p. 73).


History of Discipline Warnings

      Before Plaintiff's termination on December 27, 2016, he had a history

of disciplinary actions. On February 3, 2011, Plaintiff was written up by his

supervisor for swearing at the supervisor in the showroom. This was his

first warning and he was sent home early. Plaintiff refused to sign the

Warning Notice. (Exhibit C, February 3, 2011 Notice).

      Then on August 7, 2012, an Employee Warning Notice form was

completed stating that Plaintiff signed a customer's signature instead of

bringing the customer back in.     (Exhibit D, August 7, 2012 Employee

Warning Notice). The form indicates that when Plaintiff was questioned

about this he responded, "no comment". Plaintiff was suspended for the

afternoon of August 7, 2012, and for the next day, August 8, 2012.

(Exhibit D).

      General    Manager    Patrick   Scoggin    explained    that   besides

terminations and suspension, other forms of discipline include verbal


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meetings and coaching before write ups. (Exhibit E, Scoggin deposition,

p. 26). Mr. Scoggin rarely interacted with Plaintiff during his employment,

but he recalls meeting with Plaintiff in follow up to a concern expressed by

Kim Duley in 2014. (Exhibit E, p. 29). Duley came to his office expressing

that she felt threatened by Plaintiff.      (Exhibit E, p. 30). Following this

conversation with Duley, Scoggin and the General Manager agreed to sit

down with Plaintiff for a coaching session because he had complaints by

billing and administrative staff also. (Exhibit E, pp. 30-33). Scoggin recalls

telling Plaintiff that he was a good salesperson, but needed to work on how

he deals with people.          (Exhibit E, Scoggin's deposition, pp. 30-33).

Plaintiff could not testify one way or the other regarding whether this

conversation took place in 2014. (Exhibit A, pp. 101-105).

      Mr. Scoggin testified that although Plaintiff was a good salesman at

volume sales, his reputation throughout the dealership was as abrasive and

a bully. (Exhibit E, p. 12).

      Tony Malouf, New Car Sales Manager, recalled seeing Plaintiff

yelling at Ms. Duley many times and witnessed a few arguments between

them. (Exhibit F, Malouf's deposition, pp. 38-40). He would always try to

stop them and diffuse the situation before deciding what to do next.

(Exhibit F, pp. 40-41). Eric Calhoun, another New Car Sales Manager,

echoed Mr. Malouf's testimony that Plaintiff was abrasive and that most of
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the time Mr. Calhoun would let it "roll off his shoulders".     (Exhibit G,

Calhoun's deposition, pp. 17-20).


Retirement

       Plaintiff claims that in early 2016 comments were made to him about

when he was going to retire.          The dealership employees deny any

discussion at any time with Plaintiff regarding when he intended to retire.

(Exhibit F, p. 64; and Exhibit G, p. 67; Exhibit J, Schiller deposition, p.

73).   In the past, the dealership, has made accommodations for other

employees wishing to retire. For instance, Mr. Scoggin explained that John

Stoll had been with Huntington Ford for over 25 years and thinking of

retiring. (Exhibit E, pp. 99 - 101). They made special accommodation for

him to pull back and work on his basic customers on a part-time basis.

(Exhibit E, pp. 99-101). Likewise, a similar arrangement was made for

another employee, Mark Tracey, who was looking to cut his hours down to

part time. (Exhibit E, pp. 99-101).


Termination Event

       Plaintiff's termination from employment was precipitated by a verbal

altercation he had with Sales Associate Kim Duley on December 21, 2016.

On that date, Ms. Duley notified Defendant's management that she had a

heated argument with Plaintiff on the showroom floor and advised that if he

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"got in her face again" she would call the police. (Exhibit H, Sheriff Case

Report). Ms. Duley advised that Plaintiff came within 2 inches of her face

and belligerently blamed her for failing to get a dealer trade vehicle to the

dealership in time for him to make a delivery to a customer. (Exhibit H).

The incident was witnessed by several employees and customers. Plaintiff

claims that Ms. Duley physically assaulted him during this altercation.

Following this altercation, Plaintiff went into Mr. Malouf's office complaining

about the dealer trade. Mr. Malouf testified that Plaintiff threw the purchase

documents on the floor in his office.     (Exhibit F, p. 58).    Mr. Calhoun

witnessed Plaintiff throw down a full deal folder at Mr. Malouf's desk and

use profanity to express his anger. (Exhibit, Calhoun Statement; Exhibit,

Calhoun dep., pp. 46-47 ).

      Shortly after this all took place, Ms. Duley immediately resigned from

employment, left the dealership, and contacted the Oakland County Sheriff

Office. (Exhibit H). Ms. Duley had been employed with the dealership for

28 years.

      The Oakland County Sheriff interviewed all involved parties and an

Incident Report was completed. (Exhibit H, Case Report). Following the

Oakland County Sheriff's investigation, General Manager Schiller and

President Scoggin interviewed Plaintiff regarding the altercation with Ms.

Duley. At the conclusion of the interview, Plaintiff was suspended for the
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remainder of Wednesday, Thursday and Friday (12/21/16, 12/22/16, and

12/23/16) and directed to return on Monday, December 26, 2016, for a

review meeting to discuss the incident and possible termination from

employment. (Exhibit K, 12/21/16 Employee Warning Notice). Plaintiff

refused to sign the Employee Warning Notice and left the dealership.

(Exhibit K).

      General Manager Schiller explained that the dealership did not

terminate Plaintiff that day because it was best to take a step back and

consider the next steps. (Exhibit J, p. 95). That date it felt best to send

Plaintiff home for a few days. (Exhibit J, p. 95). Scoggin confirmed that

they were very specific that Plaintiff was suspended for the rest of that

week and was directed to return on Monday.          (Exhibit E, p. 75). Mr.

Scoggin explained that they were to have a meeting on Monday, December

26, 2017, to give everyone time to step back and make a good decision.

(Exhibit E, pp. 80-81). Mr. Scoggin did not want to act irrationally on

December 21, 2016. (Exhibit E, pp. 80-81).

      Plaintiff did not return to work on Monday, December 26, nor

Tuesday, December 27. Based on Plaintiff's unwillingness to review the

incident, the severity of his actions, and previous written and verbal

warnings, a decision was made to terminate his employment. (Exhibit L,

12/27/16 Employee Warning Notice). On Wednesday, December 28, Mr.
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Willard returned to the dealership and was notified of the termination

decision. (Exhibit A, Plaintiff's dep., p. 133). Plaintiff claims that the same

day he was terminated he obtained employment at another dealership,

Russ Milne Ford. Plaintiff executed an Application for Employment with

Russ Milne Ford on December 28, 2016.            (Exhibit O, Application for

Employment). Under Plaintiff's experience, Plaintiff listed his employment

with Huntington Ford and for the "Reason for Separation" he stated "could

not lower my skill set to their level". (Exhibit O). There is no mention that

he was terminated or that the termination was the result of age

discrimination. (Exhibit O).

        Plaintiff admitted that despite his claims of being asked to move his

desk, he had the same desk throughout his employment. (Exhibit A, p

144).     Following Plaintiff's termination, his desk at Huntington Ford

remained empty for a short period of time, probably between a week to a

month. (Exhibit J, pp. 76-77). Eventually another Sales Associate, Bob

Branni, was moved to Plaintiff's old desk.      (Exhibit J, pp. 76-77). Mr.

Branni had been employed with the dealership for 8 years and was fifty-six

years old at the time of Plaintiff's termination. (Exhibit N, Huntington Ford

January 2016 Census, p. 2).

        Following his termination, Plaintiff filed a Charge of Discrimination

with the EEOC which was dismissed because the EEOC investigation was
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unable to conclude that there was any violation of the statutes by

Huntington Ford. (Exhibit M, EEOC Dismissal and Notice of Rights).

         Plaintiff then initiated this lawsuit alleging that he was pressured to

retire and was told he was "too old" to be working there. (R.1, Complaint, ¶

15). Plaintiff also claims that he was requested to move his desk to the

back of the showroom. (R.1). Plaintiff claims the dealership pressured

another employee to file a false police report which led to his termination.

(R.1).      Plaintiff claims that his termination was a pretext for age

discrimination.     (R.1, ¶ 35).   Plaintiff's Complaint alleges Count I, Age

Discrimination - ADEA; and Count II - Age Discrimination in Violation of the

Elliott-Larsen Civil Rights Act.     (R.1).   Plaintiff alleges the exact same

allegations under each claim.         Plaintiff claims that Defendant treated

younger employees more favorably than Plaintiff and the decision to

suspend and fire Plaintiff was based on impermissible consideration of

Plaintiff's age. Plaintiff further alleged that Defendant was predisposed to

discriminate on the basis of age.

         Defendant now moves for summary judgment of Plaintiff's entire

complaint on the basis that Plaintiff cannot establish a claim of age

discrimination under federal or state law.




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Standard of Review

      Defendant Huntington Ford's motion for summary judgment is

brought pursuant to Fed. R. Civ. P. 56. Under this federal rule, summary

judgment should be granted if “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact and that the

moving party is entitled to a judgment as a matter of law.” Fed. R. Civ. P.

56(c). To prevail, the moving party must meet the burden of proving the

absence of a genuine issue of material fact as to an essential element of

the opposing party’s claim. See Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986); Logan v. Denny’s, Inc., 259 F.3d 558, 566 (6th Cir. 2001).


                                ARGUMENT

      Plaintiff cannot establish by the preponderance of the
      evidence that age was the but-for cause of his termination
      and therefore both his federal and state age discrimination
      claims should be dismissed
      The Age Discrimination in Employment Act (“ADEA”) makes it

unlawful for an employer “to discharge . . . any individual with respect to his

compensation, terms, conditions or privileges of employment because of

such individual's age.” 29 U.S.C. § 623(a)(1). Similarly, Michigan's Elliott-

Larsen Civil Rights Act (“ELCRA”) prohibits employers from discriminating

against individuals with respect to “employment, compensation, or a term,

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condition or privilege of employment” because of age.               M.C.L. §

37.2202(1)(a). Plaintiff claims that Defendant terminated his employment

because of his age in violation of the ADEA and ELCRA. Claims brought

under the ELCRA are analyzed under the same standard as an age

discrimination claim under ADEA. Geiger v. Tower Automotive, 579 F.3d

614 (6th Cir. 2009). Since Plaintiff's ADEA claim fails, Plaintiff also cannot

prevail under the ELCRA and, thus, both should be dismissed.

      Age discrimination claims under either statute can be established by

either direct or circumstantial evidence. Treadway v. California Products

Corporation, 659 Fed.Appx. 201, 206-208 (6th Cir. 2016) (unpublished),

DeBrow v. Century 21, 463 Mich. 534 (2001), Sniecinski v. Blue Cross Blue

Shield of Michigan, 469 Mich. 124 (2003), DiCarlo v. Potter, 358 F.3d 408,

414 (6th Cir. 2004). “Direct evidence of discrimination is that evidence

which, if believed, requires the conclusion that unlawful discrimination was

at least a motivating factor in the employer's actions.” Wexler v. White's

Fine Furniture, Inc., 317 F.3d 564, 570 (6th Cir. 2003) (en banc) (internal

quotation marks omitted). “Circumstantial evidence, on the other hand, is

proof that does not on its face establish discriminatory animus, but does

allow a factfinder to draw a reasonable inference that discrimination

occurred.”   Id.   Whether Plaintiff predicates his claim on direct or

circumstantial evidence, “the burden of persuasion remains on [Plaintiff] to
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demonstrate that age was the” but-for “cause of [Defendant's] adverse

action.” Gross v. FBL Financial Services, Inc., 557 U.S. 167, 177-178

(2009).

      In Gross the Supreme Court held "that a plaintiff bringing a disparate-

treatment claim pursuant to the ADEA must prove, by a preponderance of

the evidence, that age was the but-for cause of the challenged adverse

employment action. The burden of persuasion does not shift to the

employer to show that it would have taken the action regardless of age,

even when a plaintiff has produced some evidence that age was one

motivating factor in that decision." Gross, supra, at p. 180. Rather, the

correct standard for ADEA claims is whether the plaintiff has proven "by a

preponderance of the evidence . . . that age was the 'but-for' cause of the

challenged employer decision." Plaintiff cannot do so here and, therefore,

both his ADEA and ELCRA claims should be dismissed.


            A.   Direct Evidence

      “The ultimate question in every employment discrimination case

involving a claim of disparate treatment is whether the plaintiff was the

victim of intentional discrimination.”    Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 153; 120 S.Ct. 2097; 147 L.Ed.2d 105 (2000).

“Statements by nondecisionmakers, or statements by decisionmakers


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unrelated to the decisional process itself [cannot] suffice to satisfy the

plaintiff's burden . . . of demonstrating animus.” Bush v. Dictaphone Corp.,

161 F.3d 363, 369 (6th Cir. 1998) (internal quotation marks omitted)

(alterations in original).

      Plaintiff cannot make a claim for direct discrimination.     Although

Plaintiff claims that statements were made in the past about his age or

retirement, which Defendant denies, Plaintiff makes absolutely no

allegations that any such direct statements regarding his age were made

during the decision process to terminate Plaintiff. Indeed immediately after

Plaintiff was terminated Plaintiff executed an Application for Employment

with Russ Milne Ford. (Exhibit O, Application for Employment). Under

Plaintiff's experience, Plaintiff listed his employment with Huntington Ford

and for the "Reason for Separation" he stated "could not lower my skill set

to their level".    (Exhibit O).   There is no mention that he was even

terminated or that the termination was the result of age discrimination.

(Exhibit O). Plaintiff executed the Employment Application and certified

that it was true and complete.

      In order to show direct discrimination, the age discrimination needs to

be related to the decisional process to terminate employment.          Since

Plaintiff has no such evidence, he does not have a direct evidence age

discrimination claim.
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            B.   Circumstantial Evidence

      To set forth a prima facie case of age discrimination using

circumstantial evidence, a plaintiff must establish that:1) he was a member

of a protected class; 2) he was discharged; 3) the was qualified for the

position held; and 4) he was replaced by someone outside of the protected

class. See Allen v. Highlands Hosp. Corp., 545 F.3d 387, 394 (6th Cir.

2008). If Plaintiff makes this showing, the burden of production shifts to

Defendant to articulate a nondiscriminatory reason for its action. Harris v.

Metro. Gov't., 594 F.3d 476, 485 (6th Cir. 2010). If Defendant does so, the

burden of production shifts back to Plaintiff to show that Defendant's

proffered reason was mere pretext for intentional age discrimination. Id. A

plaintiff may illustrate pretext by showing that the proffered reason (1) has

no basis in fact, (2) did not actually motivate the defendant's challenged

conduct, or (3) was insufficient to warrant the challenged conduct. Hopson

v. DaimlerChrysler Corp., 306 F.3d 427, 434 (6th Cir. 2002). “The plaintiff

retains the ultimate burden of proving that age was the but-for cause of the

employer's adverse action.” Harris, 594 F.3d at 485 (quotations omitted).

      Plaintiff cannot establish a prima facie case of age discrimination

because he cannot show the last element that he was replaced by

someone outside of the protected class.       There are no allegations or

evidence that at the time Plaintiff was terminated he was replaced by

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someone outside of the protected class. Indeed, there is no evidence that

at the time of Plaintiff's termination his position was filled by anyone. At

most, shortly after his termination another employee, Mr. Banni, moved to

Plaintiff's desk. Mr. Banni, however, was fifty-six years old and, thus, was

not outside of Plaintiff's protected class. (Exhibit N). The mere fact that

Mr. Banni was moved to Plaintiff's desk cannot establish that Plaintiff was

replaced by someone outside of the protected class. Plaintiff, therefore,

cannot show a prima face case of age discrimination.

      Even if Plaintiff could establish a prima facie case of age

discrimination, then Defendant has satisfied its burden of showing a

legitimate, nondiscriminatory reason for termination.         Plaintiff failed to

return to work after being suspended. Plaintiff also violated several policies

and procedures in the Employee Handbook including "unexcused

absence", "disruptive behavior", "threatening, intimidating. . . interfering or

fighting with employees" and "conduct offensive to, or in disregard of, the

rights and privileges of others on Dealership premises."           (Exhibit B).

Under the terms of employment, violation of these policies and procedures

could lead to discipline including discharge. (Exhibit B). Ultimately, based

on Plaintiff's unwillingness to review the incident, the severity of his actions,

and previous written and verbal warnings, a decision was made to

terminate his employment.         (Exhibit L).      Considering these facts,
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Defendant     has   satisfied   its   burden   of   showing    a    legitimate,

nondiscriminatory reason for termination.

      Where Defendant has offered a legitimate, nondiscriminatory

reason -- failure to return to work after being suspended -- for terminating

Plaintiff's employment, the burden shifts back to Plaintiff to offer sufficient

evidence to create an issue of fact regarding pretext which Plaintiff cannot

do.

      Again, Plaintiff has the burden of showing "by a preponderance of the

evidence, that age was the 'but-for' cause" of his termination. Gross, 557

U.S. at 180. To do so, Plaintiff must produce sufficient evidence to show

that Defendant fabricated its nondiscriminatory explanation to conceal an

illegal motive to terminate Plaintiff because of his age. Chen v. Dow Chem.

Co., 580 F.3d 394, 400 (6th Cir. 2009). "An employee can show pretext by

offering evidence that the employer's proffered reason had no basis in fact,

did not actually motivate its decision, or was never used in the past to

discharge an employee. Smith v. Chrysler Corp., 155 F.3d 799, 805-6 (6th

Cir. 1998).

      The first type of rebuttal requires that the employee show the

employer's proffered reason for the discharge never happened. Chattman

v. Toho Tenax Am., Inc., 686 F.3d 339, 349 (6th Cir. 2012). The second

type requires the employee to admit both the facts supporting the
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employer's proffered reason and that such reason could have motivated

the adverse action, and to present evidence that the employer was instead

motivated by illegal discrimination. Id.      Finally, “[t]he third category of

pretext consists of evidence that other employees, particularly employees

outside the protected class, were not disciplined even though they engaged

in substantially identical conduct to that which the employer contends

motivated its discipline of the plaintiff.” Id. Plaintiff cannot establish any of

these categories and, thus, his claim should be dismissed.


               1. Plaintiff cannot show that Defendant's proffered
                  reason has no basis in fact.
      Following the dispute between Plaintiff and Ms. Duley, Plaintiff was

suspended from employment. The December 21, 2016 Employee Warning

Notice provided that Plaintiff had a "verbal and abusive altercation with

several employees Duley, Calhoun, Malouf". The Warning provides that

Plaintiff is suspended 12/21/16, 12/22/16, and 12/23/16, and to return on

Monday to discuss employment. (Exhibit K). The Sheriff's office incident

report also indicated that Plaintiff was suspended and was to return to work

on Monday, December 26, 2016. (Exhibit H). When Plaintiff did not return

to work on Monday, a decision was made to terminate him on December

27, 2016:    "Dennis Willard did not show or call Monday 12/26/16 for

disciplinary review meeting. He did not show or call on Tuesday Morning

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12/27/16.   Based on Dennis' unwillingness to review the incident, the

severity of his actions, previous written and verbal warnings and additional

input from department employees, his employment is terminated". (Exhibit

L).

      Plaintiff claims that he was told to return on Wednesday, December

27, 2016, but that is inconsistent with the December 21, 2016 Employee

Warning Notice which he refused to sign and the Sheriff's report.

Moreover, the reason for termination also referenced previous written and

verbal warnings and the nature of the incident allowed for termination under

the Employee Handbook policies. (Exhibit B, pp. 27-29).         Plaintiff has

offered no documentary evidence to show that Defendant's proffered

reason has no basis in fact.


               2. Plaintiff cannot show that Defendant's proffered
                  reason did not actually motivate its termination
                  decision.
      Given the severity of the altercation between Plaintiff and Ms. Duley,

Plaintiff's previous employment verbal and written warnings, and his failure

to return to work on December 26, 2016, Plaintiff has not and cannot offer

any reason to show that these reasons did not motivate Defendant's

decision to terminate Plaintiff.    As such, Plaintiff cannot establish the

second type of rebuttal evidence.


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               3. Plaintiff cannot show that Defendant's proffered
                  reason was an insufficient motive to discharge
                  Plaintiff.
      The third type of rebuttal evidence "is a direct attack on the credibility

of the employer's proffered motivation for taking the adverse action against

the plaintiff." Gulley v. Cnty. of Oakland, 496 Fed.Appx. 603, 610 (6th Cir.

2012). To make this showing, a plaintiff may offer "evidence that other

employees, particularly employees not in the protected class, were not fired

even though they engaged in substantially identical conduct to that which

the employer contends motivated its discharge of the plaintiff." McKinley v.

Skyline Chili, Inc., 534 Fed. Appx. 461, 465 (6th Cir. 2013). The plaintiff

must show that he is similarly situated to a non-protected employee in all

relevant respects. Ercegovich v. Goodyear Tire & Rubber Co., 154 F.3d

344, 353 (6th Cir. 1998).

      Plaintiff has not and cannot expressly identify any employee who was

similarly situated to him. Plaintiff has not offered any evidence that another

employee was involved in a similar incident, was given a similar warning

and suspension, and failed to return to work timely after the suspension.

As such, Plaintiff cannot show that Defendant's proffered reason was an

insufficient motive to discharge Plaintiff.

      Ultimately, Plaintiff cannot show by a preponderance of the evidence

that age was the "but-for cause" of his termination. Plaintiff cannot escape

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the fact that he was involved in a verbal altercation with another employee

that led to that employee's resignation and a police investigation. Plaintiff

was suspended and failed to return to work when his suspension was over.

Plaintiff cannot show by a preponderance of the evidence that his age was

the but-for cause of his termination and, thus, his claims under the ADEA

and ELCRA should be dismissed as a matter of law.

                                   Respectfully submitted:

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Dated: November 15, 2018
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


                       CERTIFICATE OF SERVICE

      I hereby certify that on November 15, 2018, my assistant, Enis J.
Blizman, electronically filed the foregoing document with the Clerk of the
Court using the ECF System which will send notification of such filing to the
following:

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